                  IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                        )
                                                )
            v.                                  ) No. 1:15-cr-290 (LO)
                                                )
                                                )
NOE MONTES-BOBADILLA et al.



                                   NOTICE OF HEARING

       The United States hereby gives notice that the parties shall appear at 10:00 a.m. on

September 4, 2018, for a hearing on the government’s motion to disqualify counsel, which was

filed under seal on August 20, 2018.



                                             Respectfully submitted,

                                             G. Zachary Terwilliger
                                             United States Attorney



                                       By                          /s/
                                             James L. Trump
                                             Assistant United States Attorney
                                             Attorney for the United States of America
                                             United States Attorney=s Office
                                             2100 Jamieson Avenue
                                             Alexandria, Virginia 22314
                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of August, 2018, I filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send an electronic copy to counsel of record.




                                             By:                          /s/
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